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        Case 1:23-cv-00108-LMB-JFA Document 822-1 Filed 06/14/24 Page 1 of 3 PageID# 19538




                                              UNITED STATES DISTRICT COURT
                                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                                      (Alexandria Division)


             UNITED STATES OF AMERICA, et al.,

                      Plaintiffs,
                                                                     Case No. 1:23-cv-00108-LMB-JFA
             v.
                                                                    DECLARATION OF RYAN PAULEY
             GOOGLE LLC,

                      Defendant.




                     I, Ryan Pauley, hereby declare as follows:


                     1.      I am President, Revenue & Growth at Vox Media, LLC (“Vox Media”), based in

            New York, NY. Among other duties, I oversee new business and advertising innovation by solving

            industry-wide needs and building upon Vox Media’s distinct editorial networks.

                     2.      Vox Media is the leading modern media company with editorial properties such as

            Vox, SB Nation, New York Magazine, The Dodo, and The Verge. The company is also home to

            award-winning storytelling businesses such as Vox Media Studios and the Vox Media Podcast

            Network, as well as innovative technologies that support the entire media industry, including the

            Concert advertising marketplace and Forte first-party data solution.

                     3.      Davis+Gilbert LLP (“Davis+Gilbert”) and Greenstein Delorme & Luchs, P.C.

            (“GDL”) (collectively, “Counsel for Vox Media”) represent Vox Media in connection with the

            above-referenced action (the “Action”), including in Vox Media’s response to a Civil Investigative

            Demand issued by DOJ in 2020 as part of DOJ’s investigation of Defendant Google LLC’s

            (“Google”) ad tech conduct.



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DocuSign Envelope ID: 124DBF82-4AA3-4065-BC2A-30757BFFCA01
        Case 1:23-cv-00108-LMB-JFA Document 822-1 Filed 06/14/24 Page 2 of 3 PageID# 19539




                     4.      In connection with this Action and based on my duties for Vox Media, Plaintiff,

            United States, deposed me on August 23, 2023.

                     5.      I understand that portions of my deposition testimony have been designated as

            Confidential and/or Highly Confidential, affording them certain protections in this Action.

                     6.      I also understand that portions of my deposition testimony have been quoted and/or

            characterized as part of various filings in this Action (the “Sealed Pleadings”).

                     7.      I have been advised that the Sealed Pleadings, containing and characterizing

            portions of my deposition testimony, are currently filed under seal and have been restricted from

            public view, but that they may be unsealed.

                     8.      I understand that as a result, Counsel for Vox Media has filed herewith a Response

            to pending motions to continue sealing confidential documents previously filed under seal (the

            “Response”) to request that the Sealed Pleadings continue to be restricted from public view.

                     9.      I have been able to review and am familiar with the quoted portions of my

            deposition testimony contained in the Sealed Pleadings, although neither Counsel for Vox Media

            nor I have been granted access to review the full, unredacted versions of the Sealed Pleadings.

                     10.     I have reviewed and am familiar with the Response, and I can verify that the

            Response’s description of the Sealed Pleadings’ excerpts of my deposition testimony (the

            “Excerpted Pauley Testimony”) – and the damage their public disclosure would cause Vox Media

            – is true and accurate. In particular, I am familiar with and can verify that the chart reflecting the

            Excerpted Pauley Testimony is true and accurate.

                     11.     Publicity surrounding or disclosure of my deposition testimony in connection with

            this Action will cause Vox Media significant commercial and competitive harm. Similarly,

            disclosure of quoted material from these documents will cause Vox Media significant commercial




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DocuSign Envelope ID: 124DBF82-4AA3-4065-BC2A-30757BFFCA01
        Case 1:23-cv-00108-LMB-JFA Document 822-1 Filed 06/14/24 Page 3 of 3 PageID# 19540




            and competitive harm. This harm would substantially outweigh any general relevance to the issues

            in the pending Action, as they have been described to me.

                     12.     The harm to Vox Media’s commercial and competitive interests does not have a

            near-term expiration date and cannot be prevented by more tailored redactions.


                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

            United States of America that the foregoing is true and correct.


                             14 2024
            Executed on June ____,


                                                                         _____________________________
                                                                                Ryan Pauley




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